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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FT. MYERS DIVISION
     UNITED STATES OF AMERICA,

                                   Plaintiff

     -vs-                                                            Case No. 2:05-cr-71-FtM-99DNF

     ERICK PERRY,

                             Defendant.
     _________________________________________

                                REPORT AND RECOMMENDATION

     TO THE UNITED STATES DISTRICT COURT

            This cause came on for consideration on the following motion filed herein:

                MOTION:        MOTION TO SUPPRESS PHYSICAL EVIDENCE AND
                               STATEMENTS OF DEFENDANT (Doc. No. 725)

                FILED:      October 31, 2006
                _____________________________________________________________

                THEREON it is RECOMMENDED that the motion be DENIED.

            The Defendant, Erick Perry is requesting that the traffic stop be found to be unlawful and all

     evidence seized from the stop and statements made by the Defendants after the unlawful stop be

     suppressed. The Defendant is charged in a Second Superseding Indictment (Doc. 714) with conspiring

     with others to possess with intent to distribute 500 grams or more of a detectable amount of cocaine

     and to manufacture and distribute 50 grams or more of cocaine base in violation of 21 U.S.C.

     §§841(a)(1), 841(b)(1)(A)(iii), 841(b)(1)(B)(ii)(II), and 846. An evidentiary hearing was held on

     November 2, 2006.
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             I. Testimony and Evidence

             The Government presented the testimony of City of Fort Myers Road Patrol Sergeant Michael

     Masiero, Florida Highway Patrol Trooper Joseph Gideons, and Florida Highway Patrol Sergeant

     Daniel Hinton. The Defendant introduced documentary evidence.



             A. Testimony of Sergeant Masiero

             Sergeant Masiero has been employed by the City of Fort Myers Police Department since 1994.

     (Tr1. p. 4). He has worked on road patrol, as a detective in narcotics, on the CLEAN task force, and

     with the Drug Enforcement Administration’s (“DEA”) Task Force. (Tr. p. 4). He was working on the

     DEA task force during the time of the events that occurred in this case. (Tr. p. 4).

             On August 26 or 27, 20042, Sergeant Masiero received information that two individuals had

     fled from a vehicle. (Tr. p. 4-5). A search warrant was secured for this vehicle, and on August 27,

     2004, a search was conducted of the vehicle and 900 grams of cocaine were seized from the vehicle.

     (Tr. p. 5). From this occurrence, a cooperating informant was developed. (Tr. p. 5). The confidential

     informant told Sergeant Masiero that the source of supply for this cocaine was Antonio Payne, a co-

     defendant in the instant case. (Tr. p. 6). Sergeant Masiero interviewed other confidential informants

     which led to the investigation of Antonio Payne. (Tr. p. 6). Sergeant Masiero obtained a pen register

     on February 3, 2005. (Tr. p. 6). On February 15, 2005, a confidential informant conducted a controlled

     purchase of cocaine from Antonio Payne. (Tr. p. 6). On March 24, 2005, Sergeant Masiero was given


             1
                 “Tr.” refers to the transcript (Doc. 741) of the evidentiary hearing held on November 2,
     2006.
             2
               The testimony varied at to whether the year was 2004 or 2005. (See, Tr. p. 4 and 5). It
     appears from the overall time line of the case that 2004 was correct.

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     authorization for a wire tap of Antonio Payne’s cellular telephone, and on March 29, 2005, Sergeant

     Masiero began to intercept communications involving this cellular telephone. (Tr. p. 7). A surveillance

     of Antonio Payne was initiated. (Tr. p. 8).

            On March 31, 2005 and April 1, 2005, Sergeant Masiero intercepted communications between

     Antonio Payne and others including an individual who was later identified as Erick Perry. (Tr. p. 9).

     The telephone calls were given numbers, and call numbers 519 and 676 were calls that had information

     pertinent to Sergeant Masiero’s investigation. (Tr. p. 9-10, 12). Other telephone calls made on these

     two days with the numbers 549, 569, and 614, did not involve the Defendant, however, these calls

     were also pertinent to the investigation. (See, Gov. Exh. 1, a compact disk of the calls, and Gov. Exh.

     2, a transcript of these calls, Tr. p. 10-12). Sergeant Masiero was able to recognize the voice of

     Antonio Payne on these telephone calls. (Tr. p. 13).

            Call number 519 was between Antonio Payne and Eric. (Gov. Exh. 2). This call consisted of

     Eric3 complaining to Antonio Payne that a certain substance “won’t drink.” (Gov. Exh. 2). The

     substance had water dripping out if it and it would not drink. (Gov. Exh. 2). Antonio responded by

     saying that he had tried to get this substance to drink, but he could not so he bagged it up. (Gov. Exh.

     2). Eric stated that he did not need more of this stuff, but he does need a different batch of the

     substance. Eric also discussed how he “can cook six . . I can cook six twenty of them and make it

     bigger . . .” (Gov. Exh. 2). In call number 528, Antonio Payne is again speaking with Eric, and

     arranging a meeting with him that night. (Def. Exh. A). Call number 549 is between Antonio Payne

     and Tony discussing the problems with the substance. Antonio Payne tells Tony that there is something



            3
               The identity of Eric is not germane to the issues in the Report and Recommendation, and
     therefore the Court does not address this issue.

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     wrong with the substance, he had four more of it, and he wants to return it. (Gov. Exh. 2). Antonio

     Payne tells Tony he is returning it on Saturday or Sunday. (Gov. Exh. 2). Tony says he had to speak

     to someone and he would call Antonio Payne the next day. (Gov. Exh. 2). In call number 569,

     Antonio Payne tells Tony that he is going to bring the “watcha-call-its” back to him. (Gov. Exh. 2).

     He tells Tony that he is having problems with his substance, and Tony says that he has been getting rid

     of it with no problems. (Gov. Exh. 2). Antonio Payne tells Tony that he is going to bring back three,

     and buy two more. (Gov. Exh. 2). In call number 614, Antonio calls Tony and Tony tells him that he

     has “some for you.” (Gov. Exh. 2). Tony is going to keep the substance Antonio brings to him and

     resell it. (Gov. Exh. 2). Tony has something different for Antonio Payne. (Gov. Exh. 2). Antonio

     Payne tells Tony that he his going to bring back three items and he is going to get two more, so the

     total will be five. (Gov. Exh. 2). Antonio tells Tony that he will see him shortly. (Gov. Exh. 2)4.

            Sergeant Masiero relied on his knowledge of purchasing cocaine, on the information provided

     by the confidential informants, and on the controlled purchase already made from Antonio Payne to

     determine that the subject of the intercepted telephone calls involved his investigation into illegal

     narcotics. (Tr. p. 19, 57-8).

            Based on these recordings, Sergeant Masiero decided to contact the Florida Highway Patrol

     and ask for assistance from that agency. (Tr. p. 19). Sergeant Masiero believed that these telephone

     calls involved a bad batch of cocaine that Antonio Payne received from his source, and Antonio

     Payne’s plan was to take back three bad kilograms of cocaine from the five kilograms that he originally

     purchased, and purchase an additional two kilograms. (Tr. p. 19). He would be returning to the Fort

     Myers area with five kilograms of cocaine. (Tr. p. 19). Sergeant Masiero determined from listening


            4
                Call number 614 occurred on April 1, 2005, the date of the stop.

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     to these telephone calls that Antonio Payne would be traveling from Fort Myers to the Miami area

     carrying three kilograms of cocaine and a large amount of cash. (T.p. 19, 25).

             Sergeant Masiero placed surveillance on Antonio Payne and followed him from the Fort Myers

     area through Immokalee to Route 29 and then to Alligator Alley. (Tr. p. 19). While following Antonio

     Payne, Sergeant Masiero was in constant contact with Sergeant Hinton from the Florida Highway

     Patrol. (Tr. p. 19). Sergeant Masiero’s objective was to have Antonio Payne stopped either by using

     the wire tap evidence as probable cause or for a traffic infraction. (Tr. p. 19). He continue to be in

     contact with the Florida Highway Patrol. (Tr. p. 20). As he followed the vehicle, he relayed to

     Sergeant Hinton that the vehicle was traveling in excess of 80 miles per hour. (Tr. p. 21). At that

     point, Highway Patrol Officers stopped the vehicle. (Tr. p. 21).

             A major concern for Sergeant Masiero was that the on-going investigation not be revealed to

     Antonio Payne so that the investigation could continue and the main source of supply be identified.

     (Tr. p. 21). At the traffic stop, three kilograms of cocaine and $40,000 in cash were seized. (Tr. p. 22).

     Sergeant Masiero determined that the officers should create a ruse, which was to seize the cocaine and

     cash, tell the Defendants that the cocaine did not test positive, and release Antonio Payne and the other

     passenger who was identified as Erick Perry. (Tr. p. 22-3). After Antonio Payne and the Defendant

     were released, they went to a nearby rest stop where Sergeant Masiero happened to be stopped. (Tr.

     p. 23-4). He saw both of the men exit their vehicle and he could identify them. (Tr. p. 23-4).

             On cross-examination, defense counsel asked if any of the code words that were developed in

     this case were used during the conversations that were intercepted. (Tr. p. 26). Some of the code

     words were “long sleeve” for an ounce of cocaine, “short sleeve” for a half an ounce of cocaine, a “full

     circle” for a whole crack cookie, and a “half circle” for a half of a crack cookie. (Tr. p. 27). None of


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     these code words were used in the intercepted transmissions. (Tr. p. 27). Nor did the conversations

     use the word cocaine. (Tr. p. 27). Sergeant Masiero testified that based upon his investigation and his

     experience he knew that the conversations were related to converting cocaine into crack cocaine. (Tr.

     p. 28). Both Antonio Payne and Erick Perry denied having any knowledge that cocaine and cash were

     in the vehicle. (Tr. p. 29). Sergeant Masiero testified that the car was stopped at approximately 19:08

     and Antonio Payne and the Defendant were released at 20:07. (Tr. p. 49, 51).



             B. Testimony of Trooper Gideons

             Trooper Gideons has been employed with the Florida Highway Patrol for approximately ten

     years as a state trooper. (Tr. p. 62). On April 1, 2005, Trooper Gideons participated in a traffic stop

     of a 1993 Lexus. (Tr. p. 62). He was given information from Sergeant Daniel Hinton that this vehicle

     probably had narcotics in it. (Tr. p. 63). Sergeant Hinton asked him to make a traffic stop of the

     vehicle. (Tr. p. 63). He made a traffic infraction stop with probable cause. (Tr. p. 63). The stop was

     for unlawful speeding. (Tr. p. 63). He pace clocked the vehicle by following a short distance behind

     the vehicle and then running the same speed as the vehicle for a mile or mile and a half. (Tr. p. 63-5).

     He determined that the Lexus was traveling at a rate of speed of 85 m.p.h. and the posted speed limit

     was 70 m.p.h. (Tr. p. 65). The stop was conducted at approximately 7:10 p.m. (Tr. p. 66). Trooper

     Gideons issued a warning. (Tr. p. 66). He decided to issue a warning because on Alligator Alley

     traveling at a speed of 85 m.p.h. is the borderline between receiving a warning and receiving a citation.

     (Tr. p. 66).

             Trooper Michael Grider was the first officer to arrive on the scene. (Tr. p. 67). Trooper Grider

     arrived when the driver of the Lexus had exited his vehicle and had just reached the front door of


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     Trooper Gideons patrol vehicle. (Tr. p. 67). Sergeant Daniel Hinton was the next officer to arrive and

     he arrived a few minutes after Trooper Grider. (Tr. p. 67). Trooper Gideons identified the driver of

     the vehicle as Antonio Payne. (Tr. p. 67). Trooper Grider asked the passenger to exit the vehicle, and

     when Sergeant Hinton arrived he had his drug detection dog perform a free-air sniff. (Tr. p. 67).



             C. Testimony of Sergeant Hinton

             Sergeant Hinton has been employed by the Florida Highway Patrol for twenty years. (Tr. p.

     93). He is a supervisor, K-9 handler, K-9 coordinator, K-9 trainer, and contraband interception

     regional coordinator. (Tr. p. 93). He has been training with dogs since 1990, and became a dog

     handler in 1994, and a trainer in 1997. (Tr. p. 93-4). He and his dogs are trained to find people in

     buildings, as well as locate narcotics. (Tr. p. 94). The dogs are trained to detect the odor of narcotics.

     (Tr. p. 94).

             On April 1, 2005, Sergeant Masiero contacted him and asked if he or his subordinates would

     be available to assist in an investigation concerning wire tap intercepts. (Tr. p. 94-5). Based upon

     these intercepts, there was information that an individual would be transporting illegal drugs from Fort

     Myers to Miami. (Tr. p. 95). Sergeant Hinton’s responsibility was to oversee the operation of

     conducting a traffic stop and to use a K-9 if necessary. (Tr. p. 95). His directive was to attempt to

     develop probable cause to conduct the traffic stop so that the investigation would be protected. (Tr.

     p. 95). He was not told to conduct a traffic stop in the absence of a traffic infraction. (Tr. p. 95).

     Sergeant Masiero told him that the driver of the vehicle was taking three kilograms of cocaine back

     to the Miami area due to the poor quality of the cocaine. (Tr. p. 96).




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            Sergeant Hinton was in constant contact with Sergeant Masiero. (Tr. p. 96). He knew that

     Sergeant Masiero had established a surveillance of the vehicle, and that the vehicle was traveling on

     State Road 82 to State Road 29 heading towards Miami. (Tr. p. 96-7). Based upon this information,

     Sergeant Hinton placed Trooper Gideons on Alligator Alley, in an area that Sergeant Hinton assumed

     the vehicle would pass. (Tr. p. 97). He proceeded to Alligator Alley as well. (Tr. p. 97). The traffic

     stop occurred at Mile Marker 70. (Tr. p. 97). He arrived at the scene of the traffic stop within five

     minutes of the stop being conducted. (Tr. p. 98).

            When he arrived at the stop, Sergeant Hinton saw Trooper Gideons talking to the driver of the

     vehicle, Antonio Payne. (Tr. p. 98). Trooper Grider had the front seat passenger, Erick Perry out of

     the vehicle as well. (Tr. p. 98). Trooper Gideons was in the process of writing the warning. (Tr. p.

     98). Immediately upon arriving at the stop, Sergeant Hinton had his dog, Ranger conduct a free-air

     sniff of the exterior of the Lexus. (Tr. p. 98). He deployed Ranger to detect the odor of illegal drugs

     starting at the right front headlight of the Lexus and working counterclockwise around the vehicle.

     (Tr. p. 99-100, 104). Ranger alerted by excessive scratching to the odor of narcotics on the driver’s

     door, specifically to the driver’s door handle. (Tr. p. 104, 118). After Ranger alerted, Sergeant Hinton

     put him back in his vehicle and asked Antonio Payne and the Defendant why the dog alerted on the car.

     (Tr. p. 106). Neither responded, and Sergeant Hinton returned to his vehicle, got the dog and

     conducted a search of the vehicle. (Tr. p. 106, 107). Antonio Payne and the Defendant did not




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     consent to a search of the vehicle.5 (Tr. p. 129). He found a backpack with three large ziplock bags

     containing a white powdery substance and seven bundles of currency. (Tr. p. 107).

            Sergeant Hinton obtained Ranger in 2003 and Ranger was certified to detect the odor of

     narcotics including cocaine at the time of the stop. (Tr. p. 99). Ranger underwent approximately 800

     hours of training. (Tr. p. 99). Sergeant Hinton received Ranger from the Sarasota County Sheriff’s

     Office. (Tr. p. 99). Ranger had received training there as well as with Sergeant Hinton. (Tr. p. 99).

     Sergeant Hinton testified that to receive certification, a dog must be 90% accurate. (Tr. p. 101).

            After locating the narcotics, Sergeant Hinton conducted a post-Miranda interview with both

     Antonio Payne and the Defendant. (Tr. p. 108). He read both Antonio Payne and the Defendant their

     Miranda rights. (Tr. p. 108, 129). The Defendants denied knowledge of the cocaine. (Tr. p. 108).

     Eventually, Antonio Payne and the Defendant were released so that the investigation would continue.

     (Tr. p. 109).



            II. Analysis

            The Defendant argues that the stop of the vehicle was unlawful, the search of the vehicle was

     unlawful, and the evidence seized and the statements made should be suppressed. The Government

     argues that the traffic stop was lawful based upon a traffic infraction or in the alternative, based upon

     articulable suspicion that criminal activity was occurring. Further, the Government asserts that the

     search of the vehicle after the dog alerted to the presence of the odor of illegal narcotics was valid.



            5
                Although Sergeant Hinton testified that no consent to search was given, the DEA 6 states
     that “[a] consent search was also obtained from PAYNE to search the vehicle.” (Def. Exh. B, p. 1).
     For the purposes of this Report and Recommendation, the Court will base its analysis on the
     premise that no consent to search was given.

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            A. Traffic Stop

            The Fourth Amendment provides protections to individuals from unreasonable searches and

     seizures by government officials, and this protection extends to investigatory stops of people or

     vehicles. United States v. Johnson, 2006 WL 2337741, *2 (11th Cir. 2006), (citing United States v.

     Arvizu, 534 U.S. 266, 273 (2002)). A stop of an automobile by police, even if only for a brief period

     of time and for a limited purpose constitutes a “seizure” of “persons” within the meaning of the Fourth

     Amendment. Whren v. United States, 517 U.S. 806, 809-810 (1996), citations omitted. A traffic stop

     must not be “unreasonable” under the circumstances. Id. at 810.         A decision to stop a vehicle is

     reasonable when the officer has probable cause to believe a traffic violation occurred. Id.

            In the instant case, Sergeant Masiero followed the Lexus and noted that it was traveling at a

     rate that exceeded the speed limit. Sergeant Masiero notified Sergeant Hinton that the Lexus was

     speeding. Trooper Gideons followed the Lexus for approximately one to one and a half miles and pace

     clocked the rate of speed of the Lexus at 85 m.p.h. which exceeded the speed limit by 15 m.p.h.

     Pursuant to Florida law, it is unlawful to “drive a vehicle on a highway at a speed greater than is

     reasonable and prudent under the conditions and having regard to the actual and potential hazards then

     existing.” Fla. Stat. §316.183(1). Trooper Gideons observed the driver of the Lexus committing a

     traffic infraction, pace clocked the Lexus to verify the speed it was traveling, and determined that

     probable cause existed to stop the vehicle.

            The Defendant argues that the stop of the Lexus for a traffic violation was actually just a

     pretext to stop the vehicle to search for illegal drugs. “It is well-settled that an officer’s subjective

     motivations do not affect whether probable cause existed.” Miller v. Harget, 458 F.3d 1251, 1260

     (11th Cir. 2006) (citing Whren v. United States, 517 U.S. 806, 813 (1996)). Ulterior motives of an


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     officer will not invalidate police conduct which is based upon probable cause to believe that a violation

     of the law occurred. Draper v. Reynolds, 369 F.3d 1270, 1275 (11th Cir. 2004) (citing Whren v.

     United States, 517 U.S. 806, 812-813 (1996)). The Defendant argues that the case of City of

     Indianapolis v. Edmond, 531 U.S. 32 (2000) resurrected the argument that a court may consider the

     motivations of an officer. The Edmond case involves the policy of the Indianapolis police department

     in conducting vehicle checkpoints to stop unlawful drugs. Id. at 34-35. Officers were directed to stop

     a predetermined number of vehicles. Id. at 35. An officer approached the vehicle and advised the

     driver that he was stopped at a drug checkpoint, and then asked for the driver’s license and

     registration. Id. The officer looked for any signs that the driver was impaired and conducted an open-

     view examination of the vehicle while a free-air sniff was conducted by a trained dog. Id. The

     Supreme Court distinguished cases where stops were conducted in the absence of probable cause from

     the Whren case which held “that an individual officer’s subjective intentions are irrelevant to the Fourth

     Amendment validity of a traffic stop that is justified objectively by probable cause to believe that a

     traffic violation has occurred.” Id. at 45. The facts in the instant case are similar to the Whren case

     in that the officer had probable cause to stop the Lexus based upon a traffic infraction. The Court

     determines that Indianapolis v. Edmond, supra does not apply under the facts of this case.

             The Government’s alternate theory is that the officers had reasonable articulable suspicion that

     criminal activity was occurring. Even if the Court had found that the officer lacked probable cause to

     stop the vehicle for speeding, an officer would be permitted to stop a vehicle if he had reasonable

     suspicion that criminal activity “‘may be afoot.’” United States v. Johnson, 2006 WL 2337741, *2 (11th

     Cir. 2006), (quoting United States v. Arvizu, 534 U.S. 266, 273 2002)). “”Reasonable suspicion is

     determined from the totality of the circumstances, and from the collective knowledge of the officers


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     involved in the stop.’” United States v. Davis, 175 Fed.Appx. 286, 287 (11th Cir. 2006), (quoting

     United States v. Williams, 876 F.2d 1521, 1523 (11th Cir. 1989)). When officers are conducting an

     operation in a group, and the officers have a minimal amount of communication between them, then

     their collective knowledge is used to determine if probable cause exists. United States v. Rodriquez,

     2006 WL 2563485, *1 (11th Cir. 2006)(citing United States v. Wilson, 894 F.2d 1245, 1254 (11th Cir.

     1990)). “The officer ‘must be able to point to specific and articulable facts which, taken together with

     rational inferences from those facts, reasonably warrant that intrusion.’” United States v. Davis, 175

     Fed.Appx. at 287, (quoting Terry v. Ohio, 392 U.S. 1, 21 (1968)). The Court may look to objective

     observations, information from police reports, and an individual’s proximity to illegal activity to

     determine if reasonable cause existed to stop the vehicle. United States v. Davis, 175 Fed.Appx. at

     288, United States v. Johnson, 2006 WL 2337741 at *2.

            In the instant case, in August 2004, Sergeant Masiero received information concerning illegal

     drugs found in a vehicle, and a confidential informant provided the information that the source of these

     drugs was Antonio Payne. Other confidential informants provided information concerning the illegal

     drug activities of Antonio Payne, and Sergeant Masiero began his investigation of Antonio Payne based

     upon this information. Sergeant Masiero obtained a wire tap for Antonio Payne’s cellular telephone

     and monitored the telephone calls that Antonio Payne made and received. He was able to identify

     Antonio Payne’s voice. Based upon Sergeant Masiero’s experience he knew that the telephone calls

     presented at the evidentiary hearing involved transactions concerning illegal drugs. He knew that the

     the telephone calls between Antonio Payne and Eric were concerning the inability of Eric to cook the

     cocaine to make crack cocaine and that it was a bad batch of cocaine. Sergeant Masiero also knew that

     the calls between Antonio Payne and Tony were to arrange to exchange three kilograms of the bad


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     batch of cocaine and purchase two more kilograms of cocaine. Sergeant Masiero determined from the

     intercepted conversations that Antonio Payne would be traveling to Miami to conduct this transaction.

     He then began his surveillance of Antonio Payne which confirmed the substance of the telephone calls

     that Antonio Payne was planning to return to Miami to transact his business. Sergeant Masiero than

     contacted the Florida Highway Patrol to assist him in stopping the vehicle.

             Sergeant Masiero contacted Sergeant Hinton telling him that he had information that certain

     individuals in a Lexus were transporting illegal drugs from Fort Myers to Miami. Some of the

     knowledge that Sergeant Masiero had concerning the transportation of illegal drugs and cash was

     passed on to Sergeant Hinton who in turn informed Trooper Gideons that a Lexus was transporting

     illegal narcotics and contained a large amount of cash. Based upon the totality of the circumstances

     and the collective knowledge of the officers, the Court determines that the officers had a reasonable

     suspicion that criminal activity was occurring and would have been permitted to stop the vehicle on

     that basis.



             B. Search of the Vehicle

             The Defendant argues that a trained dog’s alert on the door handle of a vehicle is not sufficient

     to constitute probable cause to search the vehicle. The Government asserts that the dog alerted

     properly on the vehicle, and that the officers had probable cause to search the vehicle based upon the

     dog’s positive alert for the odor of illegal substances. The Supreme Court has held that there is no

     legitimate interest in possessing contraband, and a governmental search that “only reveals the

     possession of contraband ‘comprises no legitimate privacy interest.’” Illinois v. Caballes, 543 U.S.

     405, 408-9 (2005) (quoting United States v. Jacobsen, 466 U.S. 109, 124 (1984)). “A canine sniff


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     during a lawful detention does not constitute a search. Illinois v. Caballes, 543 U.S. 405, 408-9

     (2005). Once a trained canine gives a positive alert to a vehicle, probable cause exists to make [a]

     search [of] that vehicle.” United States v. Williams, 2006 WL 2817541, *5 (11th Cir. 2006) (citing

     United States v. Glinton, 154 F.3d 1245, 1257 (11th Cir. 1998)). The Defendant failed to cite and the

     Court could find no cases which differentiated a positive alert on a door handle as compared to another

     location on a vehicle. The case law holds that if a trained drug detection dog alerts on a vehicle, there

     is probable cause to search the vehicle. In this case, the dog alerted on the door handle of the vehicle

     indicating that there was the odor of an illegal substance there. The positive alert by the dog gave the

     officers probable cause to search the vehicle. The Defendant did not introduce any evidence that the

     specific dog, Ranger, was not reliable. His handler, Sergeant Hinton testified to the extensive number

     of hours that this dog was trained.6

             The Court determines that the free-air sniff conducted by the well-trained drug detection dog

     was lawful, and provided probable cause for the search of the vehicle. The Court also determines that

     the search of the vehicle was lawful, and the subsequent seizure of cocaine and cash was lawful and

     any statements which were made in conjunction with the search or seizure of the evidence should not

     be suppressed. The Court recommends that the Motion to Suppress Physical Evidence and Statements

     of the Defendant be denied.




             6
               Although the Eleventh Circuit has not discussed the issue of a drug dog’s reliability
     extensively, it did state that “[t]wo other circuits have held that training of a dog alone is sufficient
     proof of reliability. United States v. Venema, 563 F.2d 1003, 1005 (10th Cir. 1977); United States
     v. Meyer, 536 F.2d 963, 965-66 (1st Cir. 1976). We endorse the views of those circuits.” United
     States v. Sentovich, 677 F.2d 834, 837, n.8 (11th Cir. 1982).

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             Failure to file written objections to the proposed findings and recommendations contained in

     this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

     the factual findings on appeal.

             Respectfully recommended in Chambers in Ft. Myers, Florida this 13th         day of November,

     2006.




     Copies:

     All Parties of Record




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